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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

         Defendants.
                                        /

         ORDER GRANTING IN PART AND RESERVING RULING ON PART OF
         SPECIAL COUNSEL’S CIPA § 4 MOTION AS TO DEFENDANT TRUMP1

         THIS CAUSE comes before the Court upon the Special Counsel’s CIPA § 4 Motion with

  respect to Defendant Donald J. Trump (the “Motion”), filed ex parte and under seal on

  December 6, 2023 [ECF No. 236]. Pursuant to Section 4 of the Classified Information Procedures

  Act (“CIPA”) and Fed. R. Crim. P. 16(d)(1), the Special Counsel requests authorization to redact,

  substitute, or delete four discrete “categories” of classified information from discovery.2 The

  Motion is accompanied by classified declarations from officers at equity-holding intelligence




  1
    This unclassified Order is issued in conjunction with a twenty-one-page Classified Order, issued
  ex parte and under seal, in which the Court describes in detail the information at issue and the
  bases for its ruling [See ECF No. 409].
  2
    In a prior Order, the Court reserved ruling on the Special Counsel’s request to redact, substitute,
  or delete the same four categories of classified information from cleared counsel for Defendants
  Nauta and De Oliveira [ECF No. 340 p. 2]. That request is addressed in this Order. Accordingly,
  unless otherwise indicated, this Order applies to Defendant Trump, Trump’s cleared counsel, and
  cleared counsel for Defendants Nauta and De Oliveira. Furthermore, for ease of reference, this
  Order refers to “Defendants” plural, although the majority of references are to Defendant Trump
  only.
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  agencies. On January 16, 2024, Defendant Trump filed under seal (but not ex parte) a classified

  Challenge to the Prosecution’s CIPA § 4 Motion [ECF No. 264]. On January 30, 2024, the Special

  Counsel filed a classified Response [ECF No. 275]. The Court heard argument on the filings in a

  series of ex parte hearings [ECF Nos. 276, 307–308, 310, 336].3 In February 2024, the Special

  Counsel submitted three additional classified supplements to its Motion, each filed ex parte and

  under seal [ECF Nos. 290, 315, 329].

         Upon review of the Motion, relevant filings, arguments raised during hearings, and the full

  record, the Court GRANTS the Special Counsel’s Motion as to Categories 3 and 4 in their entirety,

  as well as most of the Category 2 requests as set forth in the Court’s Classified Order

  [ECF No. 409]. The Court RESERVES RULING on the entirety of Category 1 and the few

  remaining Category 2 requests, pending resolution of certain issues raised in Defendants’ Motions

  to Compel Discovery [ECF Nos. 262, 263 (classified supplement)] and/or a follow-up ex parte

  CIPA § 4 hearing with the Special Counsel. No classified information not already agreed to be

  released by the Special Counsel shall be disseminated as a result of this unclassified Order.

                                       LEGAL STANDARDS

         The Classified Information Procedures Act (“CIPA”) regulates the use of classified

  information in criminal cases. 18 U.S.C. App. III. CIPA § 4 governs the discovery of classified

  information, and provides, in relevant part:

                 The court, upon a sufficient showing, may authorize the United
                 States to delete specified items of classified information from
                 documents to be made available to the defendant through discovery
                 under the Federal Rules of Criminal Procedure, to substitute a
                 summary of the information for such classified documents, or to
                 substitute a statement admitting relevant facts that the classified
                 information would tend to prove.


  3
    On February 28, 2024, the Court issued an Order Denying Defendants’ Motions for Access to
  CIPA § 4 Filings [ECF No. 346; see ECF Nos. 237, 238].
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  18 U.S.C. App. III § 4.

         Section 4 does not create new law governing the admissibility of evidence; rather, it

  “contemplates an application of the general law of discovery in criminal cases to the classified

  information area with limitations imposed based on the sensitive nature of the classified

  information.” United States v. Yunis, 867 F.2d 617, 621 (D.C. Cir. 1989); see also United States

  v. Collins, 720 F.2d 1195, 1199 (11th Cir. 1983). Furthermore, CIPA § 4 was designed to “protect

  and restrict the discovery of classified information in a way that does not impair the defendant’s

  right to a fair trial.” United States v. Aref, 533 F.3d 72, 78 (2d Cir. 2008) (alterations and internal

  quotation marks omitted).

         In evaluating the Special Counsel’s Section 4 Motions, the Court applies the standard

  articulated in United States v. Yunis, 867 F.2d at 621–25, and related authorities.4 Under the Yunis

  framework, the Court first determines, as a threshold matter, whether the government’s assertion

  of privilege over the information is “at least a colorable one.” Id. at 623 (referring to the “facial

  validity of the government’s claim of privilege”). The judicial function associated with this step

  is limited to reviewing and accepting the sworn representations of sensitivity and privilege

  contained in the Special Counsel’s submission and associated attachments. If this threshold

  requirement is met, the government’s privilege still must “give way” when disclosure of the

  information is “relevant and helpful to the defense of an accused.” Id. at 622 (quoting Roviaro v.




  4
   The Eleventh Circuit has not weighed in on the Yunis standard, but Yunis (or some nearly identical
  formulation to Yunis) is the prevailing standard applied among circuit courts, and all parties
  generally agree that the principles outlined in Yunis frame the Court’s evaluation of the pending
  CIPA § 4 filings. See, e.g., United States v. Aref, 533 F.3d 72, 78 (2d Cir. 2008); United States v.
  Moussaoui, 382 F.3d 453, 472 (4th Cir. 2004); United States v. Varca, 896 F.2d 900, 905 (5th Cir.
  Cir. 1990); United States v. Hanna, 661 F.3d 271, 295 (6th Cir. 2001); United States v.
  Klimavicius-Viloria, 144 F.3d 1249, 1261 (9th Cir. 1998).
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  United States, 353 U.S. 53, 60–61 (1957)). In seeking to withhold classified information from

  discovery under Section 4, all parties agree that the Special Counsel bears the burden of proof. 18

  U.S.C. App. III § 4 (authorizing deletion upon a “sufficient showing” by the United States). Lastly,

  if proceeding ex parte, the reviewing court places itself “in the shoes of defense counsel, the very

  ones that cannot see the classified record, and act[s] with a view to their interests.” United States

  v. Amawi, 695 F.3d 457, 471 (6th Cir. 2012); see United States v. Rezaq, 134 F.3d 1121, 1142

  (D.C. Cir. 1998) (instructing courts in this posture to “err on the side of protecting the interests of

  the defendant”).

         Upon a court’s finding that classified material is relevant and helpful to the defense, the

  government may move to substitute a statement admitting relevant facts or a summary of the

  information. 18 U.S.C. App. III §§ 4, 6(c)(1). The standard for determining the adequacy of a

  substitution in this context tracks the substitution standard in CIPA § 6(c)(1), which directs a

  district court to “grant such a motion . . . if it finds that the statement or summary will provide the

  defendant with substantially the same ability to make his defense as would disclosure of the

  specific classified information.” 18 U.S.C. App. III § 6(c)(1); United States v. Sedaghaty, 728

  F.3d 885, 906 (9th Cir. 2013); United States v. Campa, 529 F.3d 980, 995 (11th Cir. 2008) (“If the

  government provides adequate redacted documents or substitutions and obtains the permission of

  the district court, section four gives the government the right to keep defense counsel from seeing

  the original documents.”). If the government seeks to substitute a summary, it “should be

  evenhanded, worded in a neutral fashion, and not titled or shaded to the government’s advantage.”

  Sedaghaty, 728 F.3d at 906. “[T]he judge should ensure that a substitution is crafted so that the

  government obtains no unfair advantage in the trial.” Id. at 906 (quotation omitted); United States

  v. Moussaoui, 382 F.3d 453, 477 (4th Cir. 2004) (“[A] substitution is an appropriate remedy when



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  it will not materially disadvantage the defendant.”). In doing so, district courts should aim to “use

  the exact language of the [underlying material] to the greatest extent possible.” Moussaoui, 382

  F.3d at 480.

                                             DISCUSSION

         The Special Counsel seeks to redact, substitute, or delete from Defendants and cleared

  defense counsel classified information falling into four limited categories. Each category of

  information (and the associated relief requested) is described below. All references to classified

  information in this public Order are made in general terms, following consultation with the

  Classified Information Security Officer.

         Category 1 is comprised of two sensitive intelligence reports directly related to a document

  charged in one of the unlawful-retention counts as to Defendant Trump [ECF No. 85 pp. 32–37].

  The Special Counsel requests authorization to redact limited words and phrases from these reports.

  After careful study of the subject material, associated declarations, and arguments from both sides,

  the Court determines that ruling on Category 1 would be premature at this juncture. The

  information subject to redactions is bound up in requests made in Defendants’ Motions to Compel

  and associated filings, both public and classified [See, e.g., ECF Nos. 262, 263]. Moreover, for

  reasons more comprehensively stated in the Classified Order [ECF No. 409], the Court cannot say

  with certainty that the information is not “relevant and helpful” to the defense. Yunis, 867 F.2d at

  622.5 This is especially so given the material’s direct relationship to a charged document and the

  fact that the reports are asserted to have been disseminated to Defendant Trump personally. For



  5
      The Court accepts that the assertion of privilege over all materials at issue in the Special
  Counsel’s Motion—including Category 1 documents—is “at least a colorable one.” Yunis, 867
  F.2d at 623. Each declaration attached to the Motion describes the sensitivity of the materials at
  issue and the damage that could result from unauthorized disclosure.


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  these reasons, the Court reserves ruling on Category 1 pending resolution of Defendants’ Motions

  to Compel and an additional ex parte CIPA § 4 hearing with the Special Counsel to be set by

  subsequent Order.

         Category 2 contains a subset of After-Action Reports (“AARs”) and related emails from

  which the Special Counsel seeks to redact limited words and phrases.6 The vast majority of the

  requests are not topically related to the charged documents and thus neither relevant nor helpful to

  the defense [ECF No. 409]. A very limited number of redaction requests, however, cannot be

  resolved at this stage. In general terms—and as the Court’s Classified Order describes in greater

  detail—the subject terms or phrases are (1) bound up in requests made in Defendants’ Motions to

  Compel, and/or (2) have potential bearing on essential elements of the 18 U.S.C. § 793(e) charges.

  Thus, pending resolution of Defendant’s Motions to Compel and a follow-up ex parte CIPA § 4

  hearing with the Special Counsel to clarify the nature of the information at issue, the Court reserves

  ruling on the few requests identified in the Classified Order.

         Category 3 is comprised of documents relating to a potential government witness. The

  Special Counsel seeks authorization to substitute a summary of the classified information therein

  in lieu of documents themselves. Because the Category 3 documents have potential impeachment

  value, the Court finds that they are “relevant and helpful” to the defense under Yunis, 867 F.2d at

  622.7 Nonetheless, CIPA § 4 permits the Special Counsel to “substitute a summary of the




  6
     AARs are emails sent by Former President Trump’s principal briefers. Following the
  presentation of the President’s Daily Brief, the briefers sent email summaries of the briefing to
  high-ranking U.S. government and intelligence community personnel.
  7
    Nothing in this Order shall be construed as a decision on the ultimate admissibility of Category 3
  information. Should Defendants indicate their intent to use the information at trial, the Court will
  address this matter in the course of CIPA § 6 proceedings. See 18 U.S.C. App. III §§ 5, 6.


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  information for such classified documents,” 18 U.S.C. App. III § 4, so long as the summary “will

  provide the defendant with substantially the same ability to make his defense as would disclosure

  of the classified information,” 18 U.S.C. App. III § 6(c)(1); see Sedaghaty, 728 F.3d at 906. The

  Court finds the most recent version of the substitution to be adequate in that respect.8 In sum, the

  Court grants the Special Counsel’s Motion as to Category 3 and authorizes the substitution

  provided in the Classified Order.

         Category 4 contains classified information which the Special Counsel seeks to delete from

  discovery in its entirety. The Court finds the Special Counsel has met its burden as to this category.

  Even assuming this information crosses the low hurdle of relevance, the Court is satisfied that it

  would not be helpful to Defendants. It is not specific to any charged document; the Special

  Counsel does not intend to use it at trial; and any theory of helpfulness would depend, as best the

  Court can tell, on a series of speculative and attenuated inferences. For these reasons, the Special

  Counsel has made a sufficient showing to justify deletion of the Category 4 material from

  discovery.

                                                CONCLUSION

         For the reasons above, and for the reasons more comprehensively described in the Court’s

  Classified Order [ECF No. 409], it is ORDERED AND ADJUDGED as follows:

         1. The Motion is GRANTED IN PART in accordance with the Court’s Classified Order

               [ECF No. 409]. The Court authorizes the relief sought as to Categories 3 and 4 in their

               entirety, as well as most Category 2 requests [See ECF No. 409].




  8
    The substitution authorized in the Classified Order is the product of several sealed ex parte
  hearings with the Special Counsel and multiple rounds of edits [ECF No. 409; see ECF Nos. 276,
  290, 308, 310, 315, 329, 396–397]. The Special Counsel indicates that it has no objection to the
  version of the substitution authorized in the Classified Order [ECF No. 329].
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          2. The Court RESERVES RULING on the limited remaining Category 2 requests and

             Category 1 in its entirety, pending resolution of Defendants’ Motions to Compel and/or

             an additional ex parte CIPA § 4 hearing with the Special Counsel to be set by separate

             order. The Court also reserves docketing the Special Counsel’s proposed public

             stand-alone brief as to Defendant Trump—previously submitted ex parte and under

             seal as an attachment to the Special Counsel’s Third Classified Supplement to CIPA § 4

             Motions [See ECF No. 329]—until the Court has resolved the Special Counsel’s

             pending Motion for Reconsideration [See ECF No. 294].

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 22nd day of March

  2024.

                                                         _________________________________
                                                         AILEEN M. CANNON
                                                         UNITED STATES DISTRICT JUDGE


  cc:     counsel of record




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